CASE 0:24-cv-04452-JRT-JFD Doc.7 Filed 04/01/25 Pageiofi1
AFFIDAVIT OF SERVICE
Case: Court: County: Job:
0:24-CV-04452-JRT-TNL | US District Court, District of Minnesota 13007504
Plaintiff / Petitioner: Defendant / Respondent:
Darko Paviovski Frontier Airlines Inc.
Received by: For:
Raven Legal Services Darko Paviovski
To be served upon:

Frontier Airlines Inc.

1, James Hamilton, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries o* the state where service was effected, | was authorized by law to make service of the documents and informed said person of

the contents herein

Recipient Name / Address: Malori Burmeister, Legal Assistant at CSC Services, CSC Services: 2780 Snelling Avenue North Suite 101,

Roseville, MN 55113
Manner of Service:
Dacuments:

Additional Comments:

Registered Agent, Mar 31, 2025, 2:30 pm CDT
Summons tn A Civil Action; Complaint; Addition To Statement Of Facts (Received Mar 31, 2025 at 12:33pm CDT}

1) Successful Attempt: Mar 31, 2025, 2:30 pm CDT at CSC Services: 2780 Snelling Avenue North Suite 101, Roseville, MN 55113 received by

Malori Burmeister, Legal Assistant at CSC Services.

Went to the address of the registered agent listed for Frontier Airlines Inc. and upon arrival | personally handed the documents to Malori
Burmeister, Legal Assistant at CSC Services who is listed as the registered agent per the MN Secretary of State.

STA: 3-3-2

mes b4amilton V Date

Raven Legal Services

1812 18 1/2 Street Northwest
Rochester, MN 55901
6122089815

Subscribed and sworn to before me by the affiant who is
personal ‘oO me.

(fe Ke

Notary Public

3-31-25

Date Commission Expires

1-31-28

RECEIVED

SCANNED ad APR 01 2025
APR OT 2025 CLERK, U.S. D/STRICT COURT
US. nsmact counr wats MINNEAPOLIS MINNESOTA

